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              Exhibit A-1
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Tom Kosnik
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Former Adjunct Professor,
Department of MS&E
Stanford University
1990-2018

Former Assistant Professor,
Harvard Business School
1985-1989

Consulting Professor,
National University of Singapore (NUS)
2002 - Present

Hon. Edward J. Davila
San Jose Courthouse, Courtroom 4, 5th Floor
280 South First Street
San Jose, CA 95113

November 10, 2022

Dear Judge Davila,

The purpose of this letter is to provide my support for Ms. Elizabeth Holmes, who is about to be
sentenced.

To help you assess the credibility of this letter of recommendation, I have been a faculty member
for 37 years. From 1985-1989, I taught marketing at the Harvard Business School (HBS). I was
also a visiting professor at HBS from 1994-1997, while simultaneously teaching at Stanford
University. I have taught a variety of courses in Stanford University’s Department of
Management Science and Engineering from 1990-2018. I have also taught entrepreneurship at
National University of Singapore from 2002 to the present



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I have known Elizabeth Holmes since her freshman year at Stanford, 2002-2003. Professor
Channing Robertson, who was a Dean of Engineering, introduced Elizabeth to me. Elizabeth
had been working with Professor Robertson as a researcher in his lab on microfluidics (very
small samples). Since she was about to leave Stanford to start a company, he thought that
because I was teaching Global Entrepreneurial Marketing and Technology Entrepreneurship, I
could Help Elizabeth to launch Theranos. This is common practice among many Stanford
faculty to help students and alumni in this way, as long as there is no conflict of interest.

Elizabeth and I met regularly, and students in My Global Entrepreneurial Marketing Course in
2004 worked on a project to help her with marketing. Team projects are an important part of the
course, and Elizabeth was one of 15 entrepreneurs who my students selected for the project.
Students chose the projects, and there was no pressure from me for students to work with any
new venture. Although Elizabeth was younger than my graduate students, the teams that worked
with her learned from her and very much enjoyed the process.

Elizabeth and I worked fairly closely from 2003 to 2008, and again in 2015, both as an advisor
and through her continued focus on helping other students in Singapore on entrepreneurship.

These qualities make Elizabeth Holmes unique among other students I know.

Her desire to do the right thing, demonstrated by how she sought advice from amazing leaders
including Channing Robertson, Larry Ellison, Founder and CEO of Oracle, Riley Bechtel a
board member of Bechtel Corporation provided counsel and also served on Theranos’ board of
directors.

Her commitment to social impact, demonstrated by the fact that her mission in starting
Theranos was to help millions of patients get multiple blood tests from a single sample. Some
entrepreneurs are driven by a desire to become rich and or famous. Relatively few are focused
on social impact from the beginning.

Her clear and compelling vision, demonstrated by her inventiveness which led to hundreds of
patents in the U.S. and around the world.

Her maturity as a very young founder, demonstrated by the poise that she exhibited in her
interactions with her employees, customers, board of directors, and business partners.

Her grace under pressure, demonstrated by how she led Theranos through difficult stages that
are part of scaling from a startup to a large global venture.




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I am comparing Elizabeth Holmes’ performance with over 8,000 students I have taught or
worked with since 1985, including over 650 Harvard MBAs, over 150 Stanford MBAs and Sloan
Program M.S. Management. The other students are a mix of Masters, Ph.D., and undergraduate
students in my courses at Stanford Engineering, and 350+ students from around the world who
have taken the undergraduate entrepreneurship course (E145), which is offered during Stanford’s
summer quarter. She is in the top 1% of those 8,000+ students.
I am also comparing her with 50+ founders who I have worked closely with since 1990. She is
in the top 1% of that peer group as well.
On the personal side, Elizabeth is the mother of        (aged 16 months)
                          .

Bottom Line, I do not believe that Elizabeth should serve time in prison. She can have a positive
impact if she is allowed to remain free, under probation.
If you have questions, I am available at:




Thank you for your consideration,


Tom Kosnik




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To Whom It May Concern,

I am writing from Ireland in the hopes that you will consider the other side to the mistakes made by
Elizabeth Holmes.

I am a 34 year old woman with a degenerative neurological illness. I am terminally ill and I am
writing to you to please consider not sending Elizabeth Holmes to jail. I do not personally know
Elizabeth, I of course, have seen the media destroy her reputation, but as someone who has a
neurological illness with no hope of a cure I need people like Elizabeth to continue to dare to
innovate.

Yes, she made mistakes. Yes, she failed, but Elizabeth dared to innovate. She dared to dream and
people like me, who have illnesses that will never make anyone profit, we need to ensure that those
who try (and fail) do not risk criminal charges. Elizabeth was the first person to give me hope, not
necessarily that there will be a cure for me but that with enough innovation there might be cures in
the future.

Elizabeth did what so many in the Tech world do‐ she tried, she sought investment‐ and in her case I
believe there is evidence that she simply ran out of time.

If you send Elizabeth to jail, you are essentially sending every young person with a terminal illness
like me with her. Elizabeth represents the risk the tech world takes when it tries to find cures for
people like me.

She made a mistake. Please consider giving her community service so she can make the world
better. Please remember that the world is watching‐ jailing her will mean no further innovations in
the tech world, and people like me urgently need innovation‐ even though that may mean other
Elizabeth’s who fail. Hold the tech world accountable to put better checks and balances in place,
rather than punish Elizabeth as a way to make an example.

I am 34 and am unlikely to see 35. Tech innovation in the future could change the next generation of
people living with degenerative, neurological illnesses. Please keep this in mind. Punishing Elizabeth
Holmes also punishes people like me, who desperately want innovation to continue. People like me
who desperately want people to keep dreaming and trying and daring. I understand Elizabeth
Holmes made mistakes‐ she was young and naïve‐ but don’t turn her mistakes into a devastation for
people who are terminally ill.

Kind Regards,

Ms. Williams (address and email address supplied)




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